   Case: 1:19-cv-05161 Document #: 36 Filed: 10/04/19 Page 1 of 3 PageID #:5459




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 MERCIS B.V.,                                                 Case No.: 1:19-cv-05161

          Plaintiff,                                          Judge Thomas M. Durkin

    v.                                                        Magistrate Judge Maria Valdez

 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                  DEFENDANT
                 171                                supertrademarketing
                  26                                      alex_zeng
                  27                                   angelina_baby
                  29                                      bear_baby
                  30                                     kidsstore11
                  31                                       zwq1122
                 315                                         melee
                  70                                       Fine777
                  71                                         jyzg
                 317                                     mobileitem
                 301                                    ivytrade1125
                 333                                        Senden
                 337                                        Starone
                 309                                       Lakeball
   Case: 1:19-cv-05161 Document #: 36 Filed: 10/04/19 Page 2 of 3 PageID #:5459




DATED: October 4, 2019                      Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-05161 Document #: 36 Filed: 10/04/19 Page 3 of 3 PageID #:5459




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on October 4, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
